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 6 United States of America

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 1:12-CR-00168-AWI
11
                                    Plaintiff,         STIPULATION AND ORDER FOR
12                                                     CONTINUANCE
                             v.
13
     SHIRLEY KAY DAVIDSON,
14
                                    Defendant.
15

16

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18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Grant B. Rabenn, counsel for the United States, and Carolyn Phillips, counsel for the defendant

20 Shirley Kay Davidson, that the Competency Hearing in the above-captioned matter now set for February

21 3, 2014 shall be vacated and rescheduled for March 3, 2014 to provide adequate time for the defense to

22 review expert reports and prepare for the competency hearing.

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      Stipulation and Order RE: Competency Hearing     1
           Case 1:12-cr-00168-DAD-BAM Document 48 Filed 01/29/14 Page 2 of 2



 1 Dated: January 29, 2014                                    BENJAMIN B. WAGNER
                                                              United States Attorney
 2

 3                                                            /s/ Grant B. Rabenn
                                                              GRANT B. RABENN
 4                                                            Assistant United States Attorney
 5

 6
                                                              /s/ Carolyn Phillips
 7                                                            CAROLYN PHILLIPS
                                                              Attorney for Defendant
 8

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10                                                     ORDER

11          IT IS HEREBY ORDERED that the competency hearing in the above-captioned matter now

12 set for February 3, 2014, shall be vacated and rescheduled for March 3, 2014 at 10:00 a.m. in

13 Courtroom 2 before Judge Anthony W. Ishii.

14
     IT IS SO ORDERED.
15
     Dated: January 29, 2014
16
                                                     SENIOR DISTRICT JUDGE
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      Stipulation and Order RE: Competency Hearing        2
